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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, A/K/A ST. LOUIS                      LEAD CIVIL ACTION NO.:
GERVIL,

                     Plaintiff,                        3:13-cv-01132 (RNC)

                                                       Consolidated with:
v.
                                              3:13-cv-1225   3:13-cv-1640
                                              3:13-cv-1269   3:13-cv-1641
DOUGLAS PERLITZ; FATHER PAUL E.               3:13-cv-1437   3:13-cv-1642
CARRIER, S.J.; HOPE E. CARTER; HAITI          3:13-cv-1480   3:13-cv-1644
FUND, INC.; FAIRFIELD UNIVERSITY; THE         3:13-cv-1626   3:13-cv-1645
SOCIETY OF JESUS OF NEW ENGLAND;              3:13-cv-1627   3:13-cv-1647
SOVEREIGN MILITARY HOSPITALLER                3:13-cv-1628   3:13-cv-1648
ORDER OF ST. JOHN OF JERUSALEM OF             3:13-cv-1629   3:13-cv-1701
RHODES AND OF MALTA, AMERICAN                 3:13-cv-1630   3:13-cv-1767
ASSOCIATION, U.S.A., A/K/A ORDER OF           3:13-cv-1631   3:13-cv-1768
MALTA, AMERICAN ASSOCIATION, USA;             3:13-cv-1632   3:13-cv-1769
JOHN DOE ONE; JOHN DOE TWO; JOHN DOE          3:13-cv-1633   3:13-cv-1881
THREE; JOHN DOE FOUR; JOHN DOE FIVE;          3:13-cv-1634   3:13-cv-1904
JOHN DOE SIX; AND JOHN DOE SEVEN,             3:13-cv-1635   3:13-cv-1906
                                              3:13-cv-1636   3:13-cv-1907
                                              3:13-cv-1637   3:14-cv-0125
                       Defendants.            3:13-cv-1638   3:14-cv-0668
                                              3:13-cv-1639   3:14-cv-0815
This document applies to:
Clervil v. Perlitz et al., 3:13-cv-1904 (RNC) FEBRUARY 13, 2015

  DEFENDANT FAIRFIELD UNIVERSITY’S MEMORANDUM IN OPPOSITION
TO PLAINTIFF EMMANUEL CLERVIL’S MOTION FOR VOLUNTARY DISMISSAL

       Defendant Fairfield University (the “University”) respectfully submits this memorandum

in opposition to plaintiff Emmanuel Clervil’s motion for voluntary dismissal.

                                  PRELIMINARY STATEMENT

       Plaintiffs’ counsel moved for leave to amend Clervil’s complaint to add new allegations

that Clervil had been abused by Father Carrier, in contrast to his earlier sworn statements that he

had suffered no such abuse. When pressed by defense counsel as to the timing of the new




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allegations, Clervil submitted a sworn declaration stating that he had not previously told the truth

because he thought that Father Carrier “had arranged for Attorney Mitchell Garabedian” to

represent him and thought it advisable not to “tell the truth about what Father Paul” did to him.

After the Court expressed some concern about this explanation at the December 16, 2014

telephonic status conference, plaintiffs’ counsel elected not to proceed with the motion to amend

and instead moved for voluntary dismissal of Clervil’s complaint without prejudice.

       If Clervil no longer wishes to pursue his claims, then the University has no objection to

an order dismissing his lawsuit. But in order to prevent prejudice to the defendants, the Court

should impose such terms as it considers proper. See Fed. R. Civ. P. 41(a)(2). First, the

dismissal should be with prejudice, in order to prevent gamesmanship and vexatious conduct and

because Clervil’s explanation for the proposed dismissal is inadequate. Infra, at 7-13. Second,

the order of dismissal should include additional conditions to ensure Clervil’s full and continuing

compliance with his discovery obligations, including a condition requiring Clervil to make

himself available for a deposition and a condition requiring him to produce all documents

responsive to defendants’ production requests, including otherwise privileged communications

subject to the crime-fraud exception. Infra, at 13-17.

                                         BACKGROUND

       In June of 2013, the University and other defendants entered into a settlement with 24

former students of Project Pierre Toussaint (“PPT”), each of whom claimed to have been

sexually abused by the school’s founder, Douglas Perlitz. Most of these original plaintiffs were

among the victims identified by the government in its extensive criminal investigation into

Perlitz’s activities in Haiti. At a July 2013 press conference, the plaintiffs’ attorney announced

that the total value of this settlement was $12 million, with each of the original plaintiffs taking

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an equal $500,000 share. Mitchell Garabedian YouTube Channel, “Settlement Reached in Haiti

Sexual Abuse Cases,” at 4:31 – 4:50;1 see also “$500K to each boy in Haiti sex cases,” Le

Floridien: South Florida’s Most Trusted Haitian Newspaper (July 1-15, 2013).2 Since that

announcement, 47 more plaintiffs (and counting) have come forward to claim that they too

suffered sexual abuse in Haiti at the hands of Perlitz, and plaintiffs’ counsel claims that a total of

139 Haitian individuals have now engaged them with regard to claims of sexual abuse. One of

the additional plaintiffs is Emmanuel Clervil.

       A.       Mr. Clervil’s Original Allegations

       Mr. Clervil filed his complaint in December of 2013, in a pleading that was signed by

counsel and was subject to Rule 11’s requirement of a reasonable pre-suit investigation. No.

3:13-cv-1904, Dkt. 1. Like every other complaint filed in these consolidated cases, Clervil’s

pleading consisted almost entirely of boilerplate allegations concerning the founding of PPT

(e.g., id. at ¶ 29), the support that the University and other defendants provided PPT (id. ¶¶ 35-

60), and a general description of Perlitz’s alleged abuse (id. ¶¶ 61-98). Compare 3:13-cv-1132,

Dkt. 1 ¶¶ 29, 35-60, 61-98 (restating the same allegations verbatim). Included within this form

complaint was a single case-specific allegation asserting that Perlitz had sexually abused Clervil

sometime “[i]n the first half of 2008.” 3:13-cv-1904, Dkt. 1 ¶ 99.

       Based on this alleged abuse, Clervil sought damages against Perlitz, the University, and

several other defendants, one of whom was Father Paul Carrier. Id. ¶¶ 1, 8-20. Clervil’s

complaint claimed that Father Carrier “assisted” Perlitz in funding and operating PPT. Id. ¶¶ 1,

4, 27, 29, 35, 64, 114. The complaint also accused Father Carrier of having carried on a

       1
           Available at https://www.youtube.com/channel/UC5W_s0sANKAbWgS-q0shRyg.
       2
           Available at http://www.lefloridien.com/actualites_images/LF295.pdf.
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consensual sexual relationship with Perlitz. Id. ¶¶ 26, 130. At no point did Clervil make any

claim of sexual abuse by Father Carrier.

       In February of 2014, the defendants served interrogatories on all plaintiffs in the

consolidated cases. Plaintiffs obtained an extension of time so that counsel could travel to Haiti

and conduct interviews, and Clervil served his sworn responses in July of 2014. See Dkt. 439-1.

Clervil’s responses again alleged that Perlitz sexually abused him on at least two occasions. Id.,

No. 19. The timing of the alleged abuse shifted, however, from “the first half of 2008,” see Dkt.

1 ¶ 99, to “in or around 2005 to 2007.” See Dkt. 439-1, No. 19.

       Clervil’s interrogatory responses also discussed Father Carrier and his conduct.

According to the responses, Clervil “believe[d] Pere Paul should have known” about Perlitz’s

abuse. Id., No. 27. But Clervil made no claim that Father Carrier had actual knowledge of the

abuse, nor did Clervil raise any claim that Father Carrier participated in the abuse. Id., Nos. 51-

54. When Clervil was asked if there was anyone—other than Perlitz—who had ever abused or

molested him, Clervil answered: “No one.” Id., No. 21. He swore to the truth of all these

answers “under the pains and penalties of perjury.” Id. at 52.

       B.      Clervil Contradicts His Prior Sworn Statements And Accuses Father Carrier
               Of Sexual Abuse

       Two months after providing these answers, Clervil altered his story. At a September

2014 hearing, plaintiffs’ counsel informed the Court that they had “just returned from Haiti this

past weekend” and had received “clear reports” of sexual abuse committed by Father Carrier.

Sept. 23 Tr. at 56 (attached as Ex. A). Ten days later, plaintiffs’ counsel served the defendants

with supplemental interrogatory responses from Mr. Clervil. See Dkt. 439-2. In them, Clervil

retracted his claim that “[n]o one” other than Perlitz had abused him. The truth, Clervil now

claimed, was that he had also been “sexually abused by Pere Paul” on two occasions “in or
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around 2006 or 2007.” Id., No. 21. Once again, Clervil swore under penalty of perjury that

these responses were “true and accurate to the best of [his] abilities.” Id. at 5, 8.

        C.      Clervil Moves For Leave To Amend And Insinuates That He Had Repressed
                The Memories Of The Abuse

        Clervil then moved for leave to amend his complaint to add allegations of abuse by

Father Carrier and to assert six new causes of action, including four new counts against the

University. Dkt. 363-1 (counts 8 to 13). Because Clervil’s proposed amendment came more

than three months after the deadline for amending pleadings under this Court’s scheduling order,

Clervil was required to demonstrate good cause and reasonable diligence excusing the tardy

amendment. Fed. R. Civ. P. 16(b)(4); see generally Kassner v. 2nd Ave. Delicatessen, Inc., 496

F.3d 229, 244 (2d Cir. 2007). The motion attempted to satisfy this burden by attributing the

delay to repressed memories of the painful and traumatic events of his abuse:

        [V]ictims of childhood sexual abuse often have difficulty remembering or
        communicating to others the abuse they suffered. Moreover, it could reasonably
        be expected that the emotional impact of abuse by a priest could be greater than
        the impact of Perlitz’s abuse alone, making it harder for a victim to acknowledge
        of [sic] communicate that abuse. . . . Placed in this context, Plaintiff has not been
        dilatory in coming forward with the abuse by Father Carrier.

Dkt. 363 at 5; see also id. at 3.

        By signing this motion and filing it on Clervil’s behalf, plaintiffs’ counsel certified that

its claims were reasonably supported and free of any “false [or] misleading . . . representations to

the court.” See Williamson v. Recovery Ltd. P'ship, 5 42 F.3d 43, 51 (2d Cir. 2008).

        D.      When Pressed To Substantiate His Repressed-Memory Argument, Clervil
                Abandons It And Claims To Have Perjured Himself In His Initial
                Interrogatory Responses

        Several defendants objected to Clervil’s motion. They pointed out the absence of any

evidence to substantiate Clervil’s claims of repressed memories. Dkt. 439 at 5-6; Dkt. 438 at 3-

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4. Defendants also noted that the phrasing of the motion—“it could reasonably be expected that

the emotional impact of abuse by a priest could . . . make it harder . . . .,” see Dkt. No. 363 at 5—

seemed designed to avoid making any direct claim that Clervil actually experienced difficulties

remembering the alleged abuse. Dkt. 439 at 5-6; Dkt. 438 at 3-4.

       In response, Clervil’s reply brief abandoned his repressed-memory argument altogether.

Instead, Clervil submitted a sworn declaration in which he claimed to have willfully concealed

Father Carrier’s alleged abuse. Dkt. 452-1 ¶ 4. According to this new declaration, Clervil’s

earlier claim that “[n]o one” other than Perlitz had abused him (see Dkt. 439-1, at 21) was a lie.

Dkt. 452-1 ¶ 4. Clervil explained that, at the time of his initial interrogatory answers, he was

under the impression that “Father Paul Carrier had arranged for Attorney Mitchell Garabedian”

to represent him. Id. Since “Father Paul had sent the lawyers,” Clervil thought it advisable not

to “tell the truth about what Father Paul” did to him. Id. Plaintiff’s reply brief argued that this

explanation constituted “good cause . . . to permit [Clervil] to amend his complaint.” Dkt. 452 at

2.

       E.      Plaintiff Presses For A Decision On The Motion To Amend, But Then
               Withdraws The Motion And Seeks Voluntary Dismissal In Response To This
               Court’s Comments.

       This Court first had occasion to address Clervil’s motion to amend during a telephonic

conference held in December of 2014. At the time of this conference, plaintiffs’ counsel did not

express any interest in withdrawing Clervil’s motion or in dismissing the lawsuit. Quite the

contrary, plaintiffs’ counsel informed the Court that Clervil was eager to proceed with the

motion. Dec. 16 Tr. at 5-6 (attached as Ex. B). And when counsel for Father Carrier expressed a

desire to hold off on oral argument until a later date, plaintiffs’ counsel reiterated that Clervil’s



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preference was for a prompt ruling. Id. at 7 (requesting that “if there is to be argument, that it be

sooner rather than later because . . . we need to know”).

        The Court agreed to hold off on the motion until a separate oral argument could be

scheduled. Before moving on to other matters, however, the Court briefly commented on the

motion’s substance:

        I’m concerned that the record reflects contradictory answers to interrogatories and
        the proffered explanation is that the plaintiff was under a misapprehension that it
        was okay to conceal information, and I take seriously the statement by defense
        counsel that the Court should not countenance this.

Id. at 8.

        With that, the Court stated that it would “look forward to discussing” the matter further at

oral argument. Id. However, before that argument could be held, plaintiffs’ counsel sent the

defendants an e-mail in early January informing them that Mr. Clervil had decided to withdraw

his motion and that he would be seeking voluntary dismissal of his complaint without prejudice.

                                           ARGUMENT

I.      ANY DISMISSAL OF CLERVIL’S COMPLAINT SHOULD BE WITH
        PREJUDICE.

        Voluntary dismissal without prejudice is “not a matter of right.” Zagano v. Fordham

Univ., 900 F.2d 12, 14 (2d Cir. 1990). Once an answer is filed, dismissal is available “only by

court order,” and only on “terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2).

Whether to dismiss the case, and what conditions to impose, are subject to the Court’s sound

discretion. See Zagano, 900 F.2d at 14. Among the “[f]actors relevant” in considering a motion

to dismiss without prejudice are “the plaintiff’s diligence in bringing the motion,” “any undue

vexatiousness on the plaintiff’s part,” the progress of the suit, avoidance of “duplicative . . .

relitigation,” and “the adequacy of plaintiff’s explanation for the need to dismiss.” See id. at 14.
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Here, the balance of these so-called Zagano factors compels the conclusion that any dismissal of

this action must be with prejudice.

       A.      Dismissal With Prejudice Is Essential To Prevent Gamesmanship And
               Vexatious Conduct.

       The need to prevent vexatious litigation conduct is an important factor in any motion

seeking voluntary dismissal. See id. And this factor is particularly crucial in a case like this one,

where granting the motion would effectively permit the plaintiff to evade an “adverse decision”

by the Court. Manti Transp. v. Assocs. Commer. Corp., 2002 U.S. Dist. LEXIS 3738, *14-15

(S.D.N.Y. 2002).

       In numerous cases, courts have recognized that plaintiffs should not be allowed to use

Rule 41(a)(2) dismissals as a means of avoiding unfavorable rulings. For example, courts in this

Circuit have rebuffed efforts to procure voluntary dismissals that would circumvent the court’s

“refus[al] to grant an adjournment of trial.” See Greguski v. Long Island R.R., 163 F.R.D. 221,

223-24 (S.D.N.Y. 1995) (“where the Court refused to grant an adjournment of trial, Greguski

proposed a Rule 41(a)(2) dismissal as an easy ‘substitute.’ I consider that substitute too easy.”).

It is also settled law that “leave to discontinue without prejudice” should not be granted “for the

sole purpose of overcoming inadvertent failure to make a timely jury demand.” See, e.g.,

Noonan v. Cunard Steamship Co., 375 F.2d 69, 71-72 (2d Cir. 1967). And, perhaps most

important for present purposes, courts have recognized that plaintiffs cannot “resort to a Rule

41(a)(2) dismissal” as a means of “nullify[ing] . . . . [the] denial of their motion to amend their

complaint.” Barksdale v. Onondaga County Sheriff's Dep't, 2000 U.S. Dist. LEXIS 8648, *10-

11 (N.D.N.Y. 2000) (“Dismissal without prejudice should not be allowed simply to relieve

plaintiffs of the effects of their delay or the impact of an adverse order.”).


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       These decisions mandate rejection of Clervil’s attempt to secure a dismissal without

prejudice here. In October of last year, Clervil moved for leave to amend based on new

allegations of abuse by Father Carrier, and Clervil continued to press for a decision on his

proposed amendment both before and during this Court’s December 2014 status conference. See

Ex. B at 5-6 (counsel expressing plaintiff’s desire for a prompt decision on the motion). At that

status conference, however, this Court shared with the parties its concerns about Clervil’s

grounds for his proposed amendment—in particular, the Court was troubled by Clervil’s claim

that his initial interrogatory answers willfully concealed Father Carrier’s abuse because (at the

time) Clervil thought Carrier had arranged for his legal representation. Doc. No. 452-1 ¶ 4. The

Court signaled at the December conference that, in light of its concerns, it might well be inclined

to deny the motion for leave to amend. See Ex. B at 8 (“THE COURT: . . . . I take seriously the

statement by defense counsel that the Court should not countenance this.”). Following the

Court’s comments, Clervil abandoned his motion to amend and filed a new motion for voluntary

dismissal of his complaint, without prejudice and without any restrictions on his ability to refile.

       This sequence of events raises a strong inference that Clervil is attempting to use Rule

41(a)(2) to “avoid an adverse decision” on his proposed amended pleading. See Manti, 2002

U.S. Dist. LEXIS 3738, *14-15; Barksdale, 2000 U.S. Dist. LEXIS 8648, *10-11. If this Court

were to dismiss Clervil’s claims without prejudice, then Clervil would have free license to file a

new complaint immediately, with all of his proposed amendments included and without any

showing of “good cause.” Compare Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only

for good cause and with the judge’s consent.”). Nothing in Rule 41(a)(2) supports this blatant

end run around both Rule 16 and this Court’s own comment at the December conference

recognizing that perjury does not qualify as “good cause.” To permit this sort of evasion of

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established standards governing amendment of pleadings would be improper and would result in

clear prejudice to the defendants’ legal rights. See Barksdale, 2000 U.S. Dist. LEXIS 8648, *10-

11.

       B.      Clervil’s Explanation Of His Need For Dismissal Is Inadequate.

       The conclusion that dismissal here should be with prejudice is further supported by

Clervil’s patently inadequate explanation of his reasons for seeking voluntary dismissal. See,

e.g., Kregg v. Am. Suzuki Motor Corp., 2008 U.S. Dist. LEXIS 119434, *13 (W.D.N.Y. 2008)

(“The last of the Zagano factors is determinative in this case, since plaintiff has not offered a

legitimate explanation for seeking dismissal . . . other than to prejudice the Suzuki defendants”).

       According to his motion, Clervil seeks dismissal of his complaint because he is a

“twenty-two year[] old . . . Haitian citizen with limited education and understanding of legal

procedures and the obligations that accompany them.” See Dkt. 495 at 1. Even on its own

terms, this explanation is vacuous. It does nothing to distinguish Clervil from any of the other

plaintiffs in this case, and it conveys no meaningful information about Clervil’s actual reasons

for seeking voluntary dismissal.

       That aside, the more fundamental problem with Clervil’s explanation is that it does not

even attempt to explain Clervil’s sudden switch in his desire to prosecute this case. At the time

of the December 2014 status conference, Clervil was no less a “twenty-two year[] old . . .

Haitian” than he is today. See Dkt. 495 at 1. He had the same limited education and the same

limited understanding of legal procedures. See id. And Clervil had already made it quite clear to

everyone involved in this litigation that he has zero compunction about lying under oath. See

Doc. No. 452-1 ¶ 4 (describing reasons for perjuring his initial interrogatory responses). Yet at

the December 2014 status conference, Clervil and his counsel were eager to press ahead with
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both the motion for leave to amend and Clervil’s broader claims on the merits. See Ex. B at 7

(Clervil’s counsel pressing for a decision on the proposed amendment “sooner rather than later

because . . . we need to know”). The only thing that has changed since then is that this Court has

expressed serious doubts about Clervil’s motion to amend. See Ex. B at 8. Clervil’s attempt to

have this case dismissed without prejudice is clearly a reaction to the Court’s comments, and, if

his motion is granted, the dismissal’s effect will be to permit an evasion of the Court’s

anticipated ruling on the proposed amendment.

       Moreover, even if Clervil could provide a more fulsome or persuasive explanation of his

reasons for seeking voluntary dismissal, Clervil has demonstrated through his conduct that

nothing he tells this Court is to be trusted. In one sworn statement, Clervil states that “[n]o one”

other than Perlitz ever abused him. Dkt. 439-1, No. 21. In the next, he swears that Father

Carrier abused him as well. Dkt. 439-2, No. 21. In one brief, Clervil’s attorneys attribute his

shifting claims to recovery of repressed memories. Dkt. 363 at 5. In the next, the same attorneys

claim that Clervil concealed the abuse because he thought Father Carrier arranged for his legal

representation. Dkt. 452 at 2. When it comes to Clervil’s representations to this Court, every

day is a new day. This provides all the more reason to reject Clervil’s proffered explanations and

to insist that any dismissal of his complaint be with prejudice. See Kregg, 2008 U.S. Dist.

LEXIS 119434, *13.

       C.      The Remaining Zagano Factors Also Support Dismissal With Prejudice.

       Clervil’s evasion of Rule 16’s requirements and his inadequate explanation provide more

than sufficient grounds for requiring that any dismissal be with prejudice. See Kregg, 2008 U.S.

Dist. LEXIS 119434, *13; Barksdale, 2000 U.S. Dist. LEXIS 8648, *10-11. The remaining

Zagano factors do nothing to undermine this conclusion; in fact, they only serve to reinforce it.
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       Contrary to Clervil’s claims, “the extent to which th[is] suit has progressed” and the

potential for “duplicative . . . relitigation” also counsel against dismissal without prejudice. See

Zagano, 900 F.2d at 14. Clervil’s claims have now been pending for more than a year in this

Court. During this period, the parties have exchanged written discovery, they have conducted

depositions, and they have also engaged in document discovery, some (but not all) of which was

carried over from the earlier Jean-Charles cases. See generally Dkt. 456 at 5-10 (Dec. 16,

2014). If Clervil’s case were to be dismissed without prejudice, then all of this discovery could

potentially become the subject of duplicative relitigation in the future. Indeed, the risk of

duplication may be particularly acute in Clervil’s case. Given Clervil’s checkered history in this

Court, it would hardly be surprising if, given the chance, he tried out a new forum next time

around. Cf. Kern Oil & Refining Co. v. Tenneco Oil Co., 792 F.2d 1380, 1389-90 (9th Cir. 1986)

(Rule 41(a)(2) should not be used as a tool for “impermissible forum shopping”). Litigation

before a new court could well result in substantial duplication of discovery already conducted in

the St. Louis and Jean-Charles cases. And even if Clervil refiles in this Court at some later date,

some duplication is almost certain to result.

       The “plaintiff's diligence in bringing the motion” also provides no basis for dismissing

this case without prejudice. See Zagano, 900 F.2d at 14. It is true that, in some cases, one

relevant factor under Rule 41(a)(2) may be “whether [the] plaintiff moved to dismiss within a

reasonable period of time after the occurrence of the event that led to the plaintiff’s decision not

to pursue the action.” Ascentive, LLC v. Opinion Corp., 2012 U.S. Dist. LEXIS 62432 (E.D.N.Y.

2012). But here, this factor is in no way helpful to the plaintiff. In this case, Clervil has sought

voluntary dismissal without prejudice in direct response to this Court’s comments signaling a

potential denial of Clervil’s motion for leave to amend. As a result, Clervil’s “diligence,” such

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as it is, only serves to demonstrate the improper purpose of his motion: Clervil is attempting to

use voluntary dismissal as a means to “avoid an adverse decision” on his proposed amended

pleading. See Manti, 2002 U.S. Dist. LEXIS 3738, *14-15. That is inappropriate. In order to

avoid plaintiffs’ end run around the standards governing amendment of pleadings, dismissal of

the plaintiff’s claims should be entered with prejudice.

II.    DISMISSAL SHOULD ALSO BE CONDITIONED ON CLERVIL’S
       CONTINUING COMPLIANCE WITH DISCOVERY OBLIGATIONS.

       Whether the order is with or without prejudice, a court entering a voluntary dismissal

under Rule 41(a)(2) also possesses broad authority to impose additional “terms and conditions as

the court deems proper.” Cross Westchester Dev. Corp. v. Chiulli, 887 F.2d 431, 432 (2d Cir.

1989). Perhaps the most commonly employed condition in this context is one “requir[ing] a

plaintiff to pay a defendant the expenses incurred in defending against the suit.” Gravatt v.

Columbia Univ., 845 F.2d 54, 55 (2d Cir. 1988). That said, nothing in Rule 41 limits “[t]he

terms and conditions that may be imposed . . . to the payment of money.” Wright & Miller,

Federal Practice & Procedure § 4366. Other conditions requiring “that the plaintiff produce

documents” or engage in additional discovery also may be appropriate. See id.

       Here, even if Clervil’s individual claims are dismissed, he will remain in possession of

material evidence. The Court should therefore condition any dismissal under Rule 41(a)(2) on

Clervil’s continuing compliance with discovery obligations.

       A.      The Court Should Require Clervil To Make Himself Available For A
               Deposition.

       As an initial matter, the Court should adopt a condition requiring Clervil to appear for a

deposition. See Sherman v. Yahoo! Inc., 2015 U.S. Dist. LEXIS 14032, *18-19 (S.D. Cal. 2015)

(“Sherman’s withdrawal should be conditioned on Yahoo being entitled to depose Sherman.”);
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In re Wellbutrin Xl Antitrust Litig., 268 F.R.D. 539, 543-44 (E.D. Pa. 2010) (dismissal of

plaintiff conditioned on production of pertinent documents).

       If and when Clervil’s individual claims are dismissed, he will nonetheless remain an

important witness in the consolidated cases. For example, at least one other plaintiff—Clervil’s

roommate, Joel Albert—claims to have been present with Clervil, Perlitz, and Father Carrier

during a viewing of a pornographic video in Perlitz’s bedroom. See J. Albert Interrogatory

Responses 2, 19 (attached as Ex. C). Clervil’s testimony as it relates to this alleged incident

could well be crucial to both Joel Albert’s claims and the claims of other plaintiffs. In addition,

Clervil’s testimony may also be relevant to the claims of plaintiff Bernard Michel, the one other

plaintiff who has alleged sexual abuse by Father Carrier. See 3:14-cv-1530, Dkt. 1 ¶ 105. In

order to ensure Clervil’s availability to testify on these and other issues, the Court should adopt a

condition requiring that Clervil appear at a deposition. See Sherman, 2015 U.S. Dist. LEXIS

14032, *18-19.

       B.      Clervil Should Be Required To Produce All Documents Responsive To
               Defendants’ Production Requests, Including Otherwise Privileged
               Communications Subject To The Crime-Fraud Exception.

       The Court should also adopt a separate condition requiring Clervil to provide full and

complete responses to all of the defendants’ document requests. See Wellbutrin, 268 F.R.D. at

543-44; Wright & Miller, Federal Practice & Procedure § 4366. To date, plaintiffs have

produced a number of documents in discovery. But thus far, plaintiffs have withheld from their

productions all documents reflecting “communications between Plaintiffs and their attorneys.”

See, e.g., Pls. Responses to Production Requests No. 75 (April 11, 2014) (attached as Ex. D). At

least as it relates to Clervil, this blanket non-disclosure of attorney-client communications is

overbroad. Because of Clervil’s conduct in this litigation, many of his communications with his
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attorneys are no longer privileged and are properly subject to discovery under the crime-fraud

exception.

       The Court of Appeals has long held that communications “otherwise . . . protected by the

attorney-client privilege or the attorney work product privilege are not protected if they relate to

client communications in furtherance of contemplated or ongoing criminal or fraudulent

conduct.” In re Richard Roe, Inc., 68 F.3d 38, 40 (2d Cir. 1995); see Olson v. Accessory

Controls and Equip. Corp., 254 Conn. 145, 173-74 (2000) (adopting the “standard applied by the

Court of Appeals for the Second Circuit [as] an appropriate enunciation of the [crime-fraud]

exception”). In order to pierce the privilege under this rule, the party invoking the exception

must demonstrate “probable cause to believe that a crime or fraud has been attempted or

committed,” and also “that the communications were in furtherance thereof.” Roe, 68 F.3d at 40.

In applying this standard, the Court may conduct an in camera review of the communications at

issue if the existing facts raise a reasonable inference “that in camera review of the materials

may reveal evidence to establish the claim that the crime-fraud exception applies.” United States

v. Zolin, 491 U.S. 554, 572 (1989).

       Under this standard, a substantial number of Clervil’s communications with his counsel

are likely subject to discovery. As an initial matter, there is easily “probable cause to believe

that a crime or fraud” has occurred. See id. Mr. Clervil has directly asserted, in his most recent

declaration, that he lied under oath in his initial responses to the defendants’ interrogatories. See

Doc. No. 452-1 ¶ 4. Clervil initially declared, under penalty of perjury, that “[n]o one” other

than Perlitz had ever abused or molested him. See Dkt. 439-1, No. 21. He now declares, also

under penalty of perjury, that his initial response was a willfully false statement designed to

protect Father Carrier, whom Clervil believed to be connected to his legal team. Doc. No. 452-1

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¶ 4. If the second declaration is true, then Clervil has committed perjury. And “[p]erjury is

plainly of sufficient weight to warrant abridging the attorney-client privilege” under the crime-

fraud exception. See In re Grand Jury Subpoena to Carter, 1998 U.S. Dist. LEXIS 19497, *9

(D. D.C. 2008). All of Clervil’s communications with counsel made in furtherance of his

interrogatory responses should therefore be disclosed under the crime-fraud exception. And at

the very least, Clervil’s communications with counsel relating to his interrogatory responses

should be submitted to the Court for an in camera review. See id. (applying crime-fraud

exception where “in camera submission show[ed] that Ms. Lewinsky deliberately intended to

commit perjury and used her attorney to help her do so”).

       C.      The Court Should Also Require Clervil To Respond To Rule 11 Discovery.

       Finally, the Court should add a condition to any order of dismissal requiring Clervil to

submit to additional discovery concerning the pre-filing investigation that preceded his

submissions in this lawsuit. See Fed. R. Civ. P. 11. Throughout these proceedings, Mr. Clervil

has relied on shifting and often irreconcilable factual representations to support his claims.

Compare Dkt. 363 at 5 (attributing failure to disclose abuse by Father Carrier to Clervil’s

memory problems and emotional trauma), with Dkt. 452 at 2 (reversing course and attributing

the omission to Clervil’s intentional concealment). If “the central purpose of Rule 11 is to deter

baseless filings,” then clearly something has gone wrong with the Rule 11 investigations

conducted in this case. See Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990).

Discovery is warranted to determine the nature and scope of the issue.

       To be sure, Rule 11 discovery is generally permitted only in “extraordinary

circumstances,” and only with “leave of court.” Fed. R. Civ. P. 11, adv. comm. notes. But

where, as here, “the party seeking the Rule 11 discovery has shown, through traditional” means,
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that Rule 11’s norms may have been breached, targeted discovery is appropriate. In re

Convergent Technologies Sec. Litig., 108 F.R.D. 328, 346 (N.D. Cal. 1985); see Byrne v. Nezhat,

261 F.3d 1075, 1106 (11th Cir. 2001). The Court should condition the dismissal of Clervil’s

complaint on his submission to such discovery in this case.

                                        CONCLUSION

       The Court should deny the motion for voluntary dismissal without prejudice, and order

that the Clervil complaint is dismissed with prejudice, and that Clervil must submit to discovery

as set forth above. The Court should also impose such other conditions as it deems proper,

which may include an award of counsel fees to defendants in defending the Clervil motion to

amend and this motion for voluntary dismissal without prejudice.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2015, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

system.

       I further certify that on February 13, 2015, a copy of the foregoing document was

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